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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF NEW YORK


 VIETNAM VETERANS OF AMERICA, et
 al.,

                Plaintiffs,

         v.                                         Case No. 17-cv-730-LJV

 DEPARTMENT OF DEFENSE, et al.,                     August 31, 2018

                Defendants.


                                   JOINT STATUS REPORT

       All parties, through their respective counsel, hereby submit this Joint Status Report, as

required by this Court’s Order dated August 1, 2018, ECF No. 28, and by the Court’s prior Order

Granting Stay of Proceedings, ECF No. 10.

Background

       Plaintiffs filed this action on August 1, 2017, seeking declaratory and injunctive relief

relating to the Defendants’ operation of the Servicemember Civil Relief Act Website (“SCRA

Website”). Plaintiff Thomas Barden also sought damages under the Privacy Act and disclosure of

certain records pursuant to the Freedom of Information Act.

       The parties have been engaged in good faith discussions in an effort to resolve all or part

of this matter without need for further litigation. The Court granted a stay of proceedings pending

further order of the Court to permit the parties to continue to pursue a potential negotiated

resolution of the case. ECF No. 10. That Order required the parties to submit a Joint Status Report

to the Court every 30 days that informs the Court about the status of negotiations and whether the

parties believe that further negotiations will be productive. Id.
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       The parties submitted their Joint Status Reports in accordance with the orders of this Court.

See Joint Status Report (Dec. 20, 2017), ECF No. 11; Joint Status Report (Jan. 31, 2018), ECF No.

13; Joint Status Report (Mar. 2, 2018), ECF No. 16; Joint Status Report (Apr. 2, 20178), ECF No.

18; Joint Status Report (May 2, 2018), ECF No. 20; Joint Status Report (June 1, 2018), ECF No.

23; Joint Status Report (July 2, 2018), ECF No. 25; Joint Status Report (August 1, 2018), ECF No.

27.

       The Court has directed the parties to appear in person for a status conference on September

7, 2018, if the matter is not resolved by September 1, 2018. ECF No. 28. This matter will not be

resolved by September 1, 2018, and the parties are prepared to appear before this Court on

September 7, 2018, as directed.

Status Report

       As previously reported, the parties held an in-person meeting between their clients on

August 14, 2018, in Washington, D.C. The meeting was productive, and discussed issues

including terms of use, account creation processes, auditing measures, and other concerns and

limitations. Based on the issues discussed at that meeting, the parties have engaged, and are

continuing to engage, in follow-up activities in order to try to reach a substantive agreement.

Counsel for the parties expect future discussions to continue to be productive.



                                                     Respectfully Submitted,

                                                     /s/ Jonathan Manes
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Dated: August 31, 2018




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